 Case 17-71890      Doc 137       Filed 01/08/18 Entered 01/08/18 09:07:58           Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

In re:                                           )          Chapter 11
                                                 )
BARTLETT MANAGEMENT SERVICES,                    )          Case No.: 17-71890
INC., et al.,                                    )
                                                 )          (Jointly Administered)
               Debtors.                          )


         APPOINTMENT AND NOTICE OF APPOINTMENT OF COMMITTEE OF
                  CREDITORS HOLDING UNSECURED CLAIMS


         NANCY J. GARGULA, United States Trustee for Region 10 appoints the following

individuals to the Unsecured Creditors’ Committee for the case of BARTLETT

MANAGEMENT INDIANAPOLIS, INC., Case Number 17-71892, at the present time:

                                        Sorce Enterprises
                          Attn: Roy Sorce, Chairman of the Committee
                                     3201 North Main Street
                                      East Peoria, IL 61611
                                     Phone: (309) 645-9650
                                  Email: rasorce@comcast.net

                               Pojanowski Champain Realty, LLC
                               Attn: Joseph A. Pojanowski, III, Esq.
                                       45 Indian Field Court
                                        Mahwah, NJ 07430
                                      Phone: (201) 399-7242
                                Email: jpoj@bertonepiccini.com

                                    Horvath Realty of Illinois
                            Attn: Attn: Joseph A. Pojanowski, III, Esq.
                                       45 Indian Field Court
                                        Mahwah, NJ 07430
                                      Phone: (201) 399-7242
                                 Email: jpoj@bertonepiccini.com




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       Dated: January 8, 2018               Respectfully submitted,

                                            NANCY J. GARGULA,
                                            United States Trustee

                                            /s/ Mark D. Skaggs

                                            Mark D. Skaggs
                                            Attorney for U.S. Trustee

                                CERTIFICATE OF SERVICE

The undersigned certifies that on January 8, 2018, a copy of the foregoing will be served
electronically upon the following through the CM/ECF electronic service system:

   •   Jonathan A Backman jabackman@backlawoffice.com, ebackman@backlawoffice.com
   •   Mark A Bogdanowicz mbogdanowicz@howardandhoward.com,
       pkinsman@howardandhoward.com
   •   James T Finegan jasfin@aol.com,
       fineganbankruptcylaw@yahoo.com;apbfineganlaw@yahoo.com;rfinegan@gmail.com
   •   Craig Solomon Ganz ganzc@ballardspahr.com,
       hartt@ballardspahr.com;PHXDocketingbkr@ballardspahr.com
   •   Mark A Ludolph mludolph@heylroyster.com,
       tphelps@heylroyster.com;peoctdocket@heylroyster.com
   •   Michael S. Myers myersms@ballardspahr.com,
       hartt@ballardspahr.com;PHXDocketingbkr@ballardspahr.com
   •   Jeffrey D Richardson jdrdec@aol.com
   •   Timothy E Ruppel tim.ruppel@usdoj.gov, timmy.ruppel@gmail.com
   •   U.S. Trustee USTPRegion10.PE.ECF@usdoj.gov

and a paper copy was also served upon the following by U.S. Mail at the following address:

   ALL MEMBERS OF THE OFFICIAL UNSECURED CREDITORS COMMITTEE and all
   remaining creditors appearing on the most recently filed Debtor’s List of 20 Largest
   Unsecured Creditors.
                                           /s/ Mark D. Skaggs

                                            Mark D. Skaggs

Mark D. Skaggs, ARDC No.: 6210087
United States Department of Justice
Office of the United States Trustee
401 Main Street, Suite 1100
Peoria, Illinois 61602
Phone: (309) 671-7854, ext.: 226
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